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                          IN THE UNITED STATES DISTRCT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

ALTHEA SHACKELFORD,                                     §
                                                        §
        Plaintiff,                                      §
                                                        §
v.                                                      §    Civil Action No. 4:22-cv-03496
                                                        §
SPECIALIZED LOAN SERVICING                              §
LLC, and U.S. BANK, N.A.,                               §
                                                        §
        Defendants.                                     §

                                DEFENDANTS’ ORIGINAL ANSWER

        Defendants U.S. Bank National Association, as Trustee for TBW Mortgage-Backed Trust

Series 2007-2, TBW Mortgage Pass-Through Certificates, Series 2007-21 (“U.S. Bank”), and

Specialized Loan Servicing, LLC (“SLS” and together with U.S. Bank, “Defendants”) hereby

file this Original Answer to Plaintiffs’ Original Petition and Application for Injunctive Relief

(the “Petition”). Defendants state as follows:

                                                   I. ANSWER

        1.       Paragraph 1 of the Petition contains a statement regarding a state court discovery

control plan, which is not applicable to this action that is now pending in this Court.

        2.       Defendants admit the statements and allegations in Paragraph 2.1 of the Petition.

        3.       Defendants admit the statements and allegations in Paragraph 2.2 of the Petition.

        4.       Defendants admit the statements and allegations in Paragraph 2.3 of the Petition.

        5.       With respect to the statements and allegations in Paragraph 3.1 of the Petition,

Defendants state this Court has subject matter jurisdiction over this action.


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  Defendant U.S. Bank National Association, as Trustee for TBW Mortgage-Backed Trust Series 2007-2, TBW
Mortgage Pass-Through Certificates, Series 2007-2, is appearing herein in its correct capacity and is defending all
claims against the named “U.S. Bank N.A.” in this action.

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       6.      With respect to the statements and allegations in Paragraph 3.2 of the Petition,

Defendants state this Court has jurisdiction over the parties.

       7.      With respect to the statements and allegations in Paragraph 3.3 of the Petition,

Defendants state this Court is the proper venue for this action because it concerns real property

and improvements located in Harris County, Texas.

       8.      Paragraph 4.1 contains a statement of relief to which no response is required. To

the extent a response is required, Defendants deny Plaintiff is entitled to the relief requested

therein.

       9.      Paragraph 4.2 contains a statement of relief to which no response is required. To

the extent a response is required, Defendants deny Plaintiff is entitled to the relief requested

therein.

       10.     Defendants admit the statements in Paragraph 5.1

       11.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.2 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.2 and demand strict proof thereof.

       12.     Defendants deny the statements in Paragraph 5.3 and demands strict proof

thereof.

       13.     Defendants deny the statements in Paragraph 5.4 and demands strict proof

thereof.

       14.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.5 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.5 and demand strict proof thereof.

       15.     Defendants do not have sufficient information to admit or deny the statements in



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Paragraph 5.6 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.6 and demand strict proof thereof.

        16.     Defendants deny the statements and allegations in Paragraph 5.7 and demand

strict proof thereof.

        17.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.8 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.8 and demand strict proof thereof.

        18.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.9 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.9 and demand strict proof thereof.

        19.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.10 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.10 and demand strict proof thereof.

        20.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 5.11 of the Petition. To the extent a response is required, Defendants deny the

statements in Paragraph 5.11 and demand strict proof thereof.

        21.     Defendants admit that the property was posted for foreclosure sale October 4,

2022. Defendants deny the remaining statements and allegations in Paragraph 5.12 and demand

strict proof thereof.

        22.     Paragraph 6.1 of the Petition contains a citation to statutes and legal conclusions,

to which no response is required. To the extent a response is required, Defendants deny the

statements and allegations in Paragraph 6.1 and demand strict proof thereof.

        23.     Defendants deny the statements in Paragraph 6.2 and demand strict proof thereof.



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       24.     Paragraph 6.3 of the Petition contains legal conclusions for which a response is

not required. To the extent a response is required, Defendants deny the statements in Paragraph

6.3 and demand strict proof thereof.

       25.     Paragraph 6.4 of the Petition contains legal conclusions for which a response is

not required. To the extent a response is required, Defendants deny the statements in Paragraph

6.4 and demand strict proof thereof.

       26.     Paragraph 6.5 of the Petition contains legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the statements and allegations in

Paragraph 6.5 and demand strict proof thereof.

       27.     Defendants incorporate their previous responses herein.

       28.     Defendants deny the statements in Paragraph 8.1 and demand strict proof thereof.

Defendants further deny Plaintiff is entitled to the relief requested.

       29.     Paragraph 8.2 of the Petition contains legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the statements and allegations in

Paragraph 8.2 and demand strict proof thereof.

       30.     Paragraph 8.3 of the Petition contains legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the statements and allegations in

Paragraph 8.3 and demand strict proof thereof.

       31.     Paragraph 8.4 of the Petition contains legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the statements and allegations in

Paragraph 8.4 and demand strict proof thereof.

       32.     Defendants do not have sufficient information to admit or deny the statements in

Paragraph 8.5 of the Petition. To the extent a response is required, Defendants deny the



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statements in Paragraph 8.5 and demand strict proof thereof.

       33.     Paragraph 8.6 contains a statement of relief to which no response is required. To

the extent a response is required, Defendants deny Plaintiff is entitled to the relief requested

therein.

       34.     Defendants incorporate their previous responses herein.

       35.     Defendants deny the statements in Paragraph 9.2 and demands strict proof

thereof. Defendants deny Plaintiff is entitled to the relief requested.

               a. Defendants deny the statements in Paragraph 9.2a and demand strict proof

                   thereof. Defendants further deny Plaintiff is entitled to the relief requested.

               b. Defendants deny the statements in Paragraph 9.2b and demand strict proof

                   thereof. Defendants further deny Plaintiff is entitled to the relief requested.

               c. Defendants deny the statements in Paragraph 9.2c and demand strict proof

                   thereof. Defendants further deny Plaintiff is entitled to the relief requested.

               d. Defendants deny the statements in Paragraph 9.2d and demand strict proof

                   thereof. Defendants further deny Plaintiff is entitled to the relief requested.

               e. Defendants do not have sufficient information to admit or deny the statements

                   in Paragraph 9.2e of the Petition. To the extent a response is required,

                   Defendants deny the statements in Paragraph 9.2e and demand strict proof

                   thereof.

       36.     Defendants deny the statements in Paragraph 10.1 and demand strict proof

thereof.




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        37.    Defendants deny the statements in Paragraph 10.2 and demand strict proof

thereof. Defendants further deny Plaintiff is entitled to the relief requested in the Prayer of the

Petition.

               a. Defendants deny Plaintiff is entitled to the relief requested in Paragraph 10.2a.

               b. Defendants deny Plaintiff is entitled to the relief requested in Paragraph 10.2b.

               c. Defendants deny Plaintiff is entitled to the relief requested in Paragraph 10.2c.

               d. Defendants deny Plaintiff is entitled to the relief requested in Paragraph 10.2d.

               e. Defendants deny Plaintiff is entitled to the relief requested in Paragraph 10.2e.

                                            II. DEFENSES

        Defendants asserts the following affirmative defenses:

        1.     Defendants deny that all conditions precedent to a right of recovery have been

satisfied.

        2.     Plaintiff’s claims are barred by the applicable statutes of limitations.

        3.     Plaintiff’s claims are barred or any failure to perform is excused by the doctrines

of affirmation, ratification, and waiver.

        4.     Plaintiff’s claims are barred or any failure to perform is excused by the doctrine of

accord and satisfaction.

        5.     Plaintiff’s claims are barred by the election of rights doctrine.

        6.     One of more of Plaintiffs’ claims are barred by the “one satisfaction” and “con-

tort” doctrines, or “economic loss” rule.

        7.     Plaintiff failed to mitigate her damages.

        8.     Defendants claim all offsets and credits available to them.




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        9.      Defendants are not liable for the acts, omissions, or conduct of other persons or

entities not authorized to act on behalf of them; pleading further, and in the alternative,

Defendants are not liable for the acts, omissions, or conduct of its agents who exceeded the scope

of their authority.

        10.     Plaintiff’s damages, if any, were proximately caused by the acts, omissions, or

breaches of other persons and entities, including Plaintiff, and the acts, omissions, or breaches

were intervening and superseding causes of Plaintiff’s damages, if any.

        11.     Defendants’ actions and omissions, if any, were undertaken in good faith, with the

absence of malicious intent to injure Plaintiff, and constitute lawful, proper and justified means

to further the business purposes of Defendants. Any purported conduct of individuals who were

or are agents of Defendants was privileged, and those individuals were and are justified in

engaging in the conduct attributed to them. Defendants pleads all statutory and common law

privileges that may apply to their conduct and those of their agents.

        12.     Any allegedly wrongful acts or omissions of Defendants, if and to the extent such

acts and omissions occurred, were legally excused or justified.

        13.     Defendants would show its conduct or activity conformed at all times to any and

all applicable state and federal statutes, codes, and regulations.

        14.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of judicial

estoppel, collateral estoppel, quasi estoppel, contractual estoppel, equitable estoppel and res

judicata.

        15.     Some or all of Plaintiff’s claims are barred by the doctrine of laches.

        16.     Any alleged wrongful acts or omissions of Defendants, if and to the extent such

acts or omissions occurred, were not intentional and resulted from a bona fide error.



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        17.    Plaintiff’s claims must fail due to the failure to tender all amounts admittedly

owed.

        18.    Plaintiff fails to state a claim upon which relief may be granted.

        19.    Plaintiff is not entitled to recover attorney’s on one or more of her claims.

                                                      Respectfully submitted,

                                                  By:    /s/ Nicholas M. Frame
                                                        MARK D. CRONENWETT
                                                        Attorney in Charge
                                                        Texas Bar No. 00787303
                                                        Southern District Bar No. 21340
                                                        mcronenwett@mwzmlaw.com
                                                        NICHOLAS M. FRAME
                                                        Of Counsel
                                                        Texas Bar No. 24093448
                                                        Southern District Bar No. 3121681
                                                        nframe@mwzmlaw.com

                                                  MACKIE WOLF ZIENTZ & MANN, P. C.
                                                  14160 North Dallas Parkway, Suite 900
                                                  Dallas, TX 75254
                                                  Telephone: (214) 635-2650
                                                  Facsimile: (214) 635-2686

                                                 ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
via ECF notification on October 21, 2022 on the following counsel of record:

        Ray L. Shackelford
        1406 Southmore Blvd.
        Houston, TX 77004
        (713) 520 8484
        (713) 520-8192 - Facsimile
        rshackctic@yahoo.com
        Attorneys for Plaintiff
                                                      /s/ Nicholas M. Frame
                                                      NICHOLAS M. FRAME




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